
22 So.3d 627 (2009)
Daniel Karr JOHNSON, Appellant,
v.
STATE of Florida, Appellee.
No. 5D09-2314.
District Court of Appeal of Florida, Fifth District.
October 13, 2009.
Rehearing Denied December 3, 2009.
Daniel Karr Johnson, Clermont, pro se.
Bill McCollum, Attorney General, Tallahassee and, Ladawna Murphy, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
AFFIRMED. See Fla. R.App. P. 9.315(a).
LAWSON, EVANDER, and COHEN, JJ. concur.
